Case 9:21-cv-80151-DMM Document 9 Entered on FLSD Docket 02/22/2021 Page 1 of 1

RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District of FLORIDA

Case Number: 9:21-CY-80151-DMM

Plaintiff: '

SURESH KUMAR, individually, and on behalf of All Employees Similarly Situated \

VS. :
ROG202100

Defendants: 1527
KRS GLOBAL BIOTECHNOLOGY, INC., CLEVELAND DIABETES CARE, INC

For:

Christine Tornasello, Esq.
Tomasello Legal, P.A.

10299 Southern Blvd.

Unit 212451

Royal Palm Baacn, FL 33411

Received by Michael Gonedes on the Sth day of February, 2021 at 12:59 pm to be served on KRS Global Biotechnology, Inc
ATTN: Elsa Kerpi, 791 Park of Commerce Blvd., Suite 600, Boca Raton, FL 33487.

1, Michael Gonedes, do hereby affirm that on the 10th day of February, 2021 at 9:03 am, 1:

CORPORATE: servec by delivering a true copy of the Summons in a Civil Action and Plaintiff's Collective Action Complaint
and Demand for Jury Trial wilh the date and hour of service endorsed thereon by me, to: Dennis Flaggerty as Manager of KRS
Global Biotechnology, Inc, in the absence of the Registened Agent, President. Vice President, Secretary, Treasurer, or any other
corporate officer at the address of: 791 Park of Commarce Blyvd., Suite 600, Boca Raton, FL 33487, and informed said person of
the contents therein, in compliance with Federal Rules of Civil Procedure, Florida Statute 48.081 or other state statute as
applicable.

Description of Person Served. Age: 40, Sex: M, Race!Skin Color White, Height: 5'11", Weight: 199, Hair; Black, Glasses: N
Under penalties of perjury, | declare that | have read the foregoing and that the facts stated In it are true. | am over the age of

18, have no interest in the above action, anc am a Canified Process Server, in good standing. in the ccunty in which service was
effected in accordance with State Statutes.

 

Michael Gonedes
Process Server 1980

Rack Legal Services & Investigations Inc
2048 Ponce Da Leon Avenue

West Palm Beach, FL 33407

(564) 296-7574

Our Job Serial Number; ROC-2021001527
Ref. Kumar v. KRS Global and Cleveland Diabet

Cospight S 1962-2921 Oatavase Services, inc. « Process Serves Togkox Wi. 1%

 
